Case 2:05-cr-20212-SH|\/| Document 30 Filed 06/16/05 Page 1 of 2 Page|D 30/)/
1N THE UNITED s'rATES DISTRICT coURT F*LE?D ~’-' n.c.

FOR TI'IE WESTERN DISTRICT OF TENNESSEE

 

 

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UNITED sTATEs or AMERICA §§ W 13l <`331 351 MEM'PHsé
V.
HowARD ColeGroN 05¢r20212-4-Ma
oRDER oN ARRAIGNMENT

 

This cause came to be heard on \_]W|L /Q,_¢'HSD§_ the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAMEMW who is Recaine-

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed within thirty (30) days from the date hereof uniess, for good cause
shown to a District Judge, such period is extended

 

‘SFMLQ,L

UNITED STATES MAGISTRATE IUDGE

CI-IARGES - 18:2118(a)
ROBBERY OF CONTROLLED SUBSTANCE

Attorney assigned to Case: T. Arvin

Age= .M

This doctment entered on the docket sheet in compliance
w|th R\t|e 55 andi'or 32lb) FHCrP on '

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This notice confirms a copy of the document docketed as number 30 iii
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Tony R. Arvin

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Honorable Samuel Mays
US DISTRICT COURT

